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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

Civil Action No. 3:14-CV-05358

Channel Methods Partners, LLC,
a New Jersey limited liability company

Eineun, DECLARATION OF SERVICE
Wi
Pharmatech, Inc.,
a Colorado corporation

Defendant.

Martha Beach, of full age, hereby declares under penalty of perjury that:

Li On October 3, 2014, I caused the Letter Objecting Plaintiff's Notice of Voluntary
Dismissal to be filed with the United States District Court, District of New Jersey via e-filing
CM/ECF.

2. On October 3, 2014, I caused a copy of the Notice of Removal to be served upon
counsel for Plaintiff, via U.S. Mail, overnight delivery, at the following address:

Sean G. Deverin, Esq.

160 White Road, Suite 204
Little Silver, NJ 07739

Respectfully submitted October 3, 2014. Mafta Boal ~

Martha Beach

